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Hiscox Insurance Company, Inc.

Plaintiff
Case No.: 1:23-CV-03362-JMC

vs.
Maryland Congress of Parents and Teachers, Inc.
Defendant
AFFIDAVIT OF SERVICE

I, M. Frederick Parsons, a Private Process Server, being duly sworn, depose and say:
That I am over the age of eighteen years and not a party to or otherwise interested in this action.

That I have been duly authorized to make service of the Summons; Plaintiff's Original Complaint and Request for Declaratory
Judgment with Exhibits; and Civil Cover Sheet in the above entitled case.

That on 12/13/2023 at 11:30 AM, I served Seth Waxman, as Receiver for Maryland Congress of Parents and Teachers, Inc. at 6
Deer Trail Court, Gaithersburg, Maryland 20878-2687 with the Summons; Plaintiff's Original Complaint and Request for
Declaratory Judgment with Exhibits; and Civil Cover Sheet by serving Mrs. Waxman, wife of Seth Waxman, a person of suitable
age and discretion, who stated he/she resides therein.

Mrs. Waxman is described herein as:

Gender: Female Race/Skin: White Age: 46 Weight: 125 Height: 5'5" Hair: Brown Glasses: Yes

I solemnly affirm under the penalties of perjury that the contents of this document are true to the best of my knowledge,
information, and belief.

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M. Frederick Parsons

Executed On’

Client Ref Number:N/A
Job #: 1628048

Capitol Process Services, Inc. | 1827 18th Street, NW, Washington, DC 20009 | (202) 667-0050
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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Maryland
Hiscox Insurance Company, Inc. )
)
)
)
Plaintiff(s) )
v. Civil Action No, JMC-23-3362
Maryland Congress of Parents and Teachers, Inc. )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

"To: (Defendant's name and adldness) sickeon wat a5 Receiver for Maryland Congress of Parents and Teachers, Inc.

International Square
1825 Eye St. N.W., Suite 900
Washington, D.C. 20006

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of

the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,

Whose Mame andaddiess ate: eit, Duncan, Clark Hill PLO, 1004 Pennsylvania Avenue, NW, Sulfe 1300

South, Washington, DC 20004; and

Michael Keeley and Sean Deer (Pro Hac Vice Pending), Clark Hill PLC, 901 Main
Street, Suite 6000, Dallas, TX 75202.

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: 12/12/2023

Signature of Clerk or Deputy Clerk
